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Pro Se 10 (Rev. 12/16) Complaint for the Conversion of Property



                                        UNITED STATES DISTRICT COURT                                                        Feb 03 2021
                                                                        for the
                                                                                                                                 s/ soniad
                                                            Southern District of California 0
                                                                  USA Supreme Court

               Dr. Mickey Socrates Ferdynand®
                                                                                  Case No.        '21CV0203 WQHAGS
                                                                           )
                                                                           )                      (to be filled in by the Clerk's Office)
                                                                           )
                              Plaintijf(s)
                                                                           )
(Write the full name of each plaintiffwho is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,          )      Jury Trial: (check one)    0     Yes     D No
please write "see attached" in the space and attach an additional          )
page with the fa// list ofnames.)                                          )
                                  -v-                                      )
     Target Corporation II USA Department of Homeland                      )
                           Security                                        )
                                                                           )
                                                                           )
                              Defendant(s)                                 )
(Write the full name of each defendant who is being sued. If the           )
names ofall the defendants cannot fit in the space above, please           )
write "see attached" in the space and attach an additional page
with the full list of names.)


                              COMPLAINT FOR THE CONVERSION OF PROPERTY
                                                  (28 U.S.C. § 1332; Diversity of Citizenship)


I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                                                      Dr. Mickey Socrates Ferdynand®
                           Name
                                                                      378 Hunt Ln, #1616
                           Street Address
                                                                      Crestline, San Bernardino County
                           City and County
                           State and Zip Code                         California, 92308 ~'1...3   zs,
                                                                      (858) 291-3362
                           Telephone Number
                           E-mail Address                             mferdynand@ucsd.edu



          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


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                     Defendant No. 1
                           Name                                   Target Corporation

                           Job or Title (if known)                Illegal Distributor of Registered Trademark #5764975

                           Street Address                         1000 Nicollet Mall

                           City and County                        Minneapolis, Unknown

                           State and Zip Code                     Minnesota, 55403

                           Telephone Number                       (800) 440-0680

                           E-mail Address (if known)              Unknown



                     Defendant No. 2
                           Name                                   USA Department of Homeland Security

                           Job or Title (if known)                Federal Governemnt Entity

                           Street Address                         Mr. Chad F. Wolf II Acting Secretary of Homeland Security

                           City and County                        Washington, DC

                           State and Zip Code                     Washington, DC 20528

                           Telephone Number                       (202) 282-8000

                           E-mail Address (if known)              Unknown


                     Defendant No. 3
                           Name
                           Job or Title (if known)
                           Street Address
                           City and County
                           State and Zip Code
                           Telephone Number
                           E-mail Address (if known)


                     Defendant No. 4
                           Name
                           Job or Title (if known)
                           Street Address
                           City and County
                           State and Zip Code
                           Telephone Number
                           E-mail Address (if known)



                                                                                                                              Page 2 of 5
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II.       Basis for Jurisdiction

          Federal courts are courts oflimited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.


          A.         The Plaintiff(s)

                     I.    If the plaintiff is an individual

                           The plaintiff, (name)              Dr. Mickey Socrates Ferdynand®                           , is a citizen of the
                                                             ---------------------
                           State of (name)             San Bernardino County


                     2.    If the plaintiff is a corporation


                           The plaintiff, (name)                                                                       , is incorporated
                                                                   --------------------
                           under the laws of the State of (name)                                                                         ' and
                                                                                   -------------------
                           has its principal place of business in the State of (name)

                     (If more than one plaintiff is named in the complaint, attach an additional page providing the same
                     information for each additional plaintiff)

          B.         The Defendant(s)

                     I.    If the defendant is an individual


                           The defendant, (name)                                                                       , is a citizen of the
                                                              ---------------------
                           State of (name)                                                     0 r is a citizen of (foreign nation)




                     2     If the defendant is a corporation


                           The defendant, (name)                  Target Corporation                              , is incorporated under
                                                              -------------------
                           the laws of the State of (name)        USA                  ' and has its principal
                                                                 --------------~
                           place of business in the State of (name)         USA
                                                                           ---------------------
                           0 r is incorporated under the laws of (foreign nation) USA

                           and has its principal place of business in (name)               USA


                     (If more than one defendant is named in the complaint, attach an additional page providing the same
                     information for each additional defendant.)




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          C.         The Amount in Controversy

                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at stake-is
                     more than $75,000, not counting interest and costs of court, because (explain}:
                     1. Target Corporation unconstitutionally and illegally (without a licensing agreement) distributed and
                     profited from my mark. 2. The USA Department of Homeland Security is reponsible for protecting (with
                     Congress) and safequarding all registered marks with the United States Patent and Trademark Office.
                     Why was my registered mark internationally distributed and sold and continues to be such with no
                     acknowledgement from any federal or state agency or person (incfuding you the Court)?

III.      Statement of Claim

          A.         Describe the property that you own that is the subject of this complaint, including its value.
                     please see [Dr. Mickey Socrates Ferdynand® v Disney Enterprises II Walt Disney Company; Case#
                     '21 CV0050WQHJLB] and [Dr. Mickey Socrates Ferdynand® v Israel Montoya, Raquel Montoya, and
                     Nanci Pelosi]; its value is uncomprehensible to a real or imaginary number. Per the USA Constitution, it
                     is of equal value to the most ''valuable" mark in commerce.



          B.         How and when did you come to own the property?
                     When I lawfully and honestly went through the whole legal proceeding process that includes
                     examination lo the mark, oppositon, publication, etc. while I was in graduate school in the united
                     Kingdom.




          C.         How and when did the defendant(s) obtain possession of the property? Describe with particularity the
                     actions the defendant(s) took to convert the property.
                      I dont know how, by the DVD in my posssession has a copyright year of 2020 stamped with "Mexico"
                     and my mark was registered on May 28, 2019. They associated my mark with a rat cartoon character
                     that now everyone will think I copied them when that was not the case. I am a living individual that now
                     has a mark withno true value as it's not recognized or protected by anyone in the USA, including you
                     ''The Court".

          D.         (Jfthe defendant(s) rightfully came into possession of the property): Describe how and when you
                     notified the defendant(s) that the property belonged to you. Describe how and when you demanded that
                     the defendant(s) deliver or return the property, and what response you received from the defendant(s).
                     Attach a copy of any written correspondence with the defendant(s), if such copies exist.
                      I notifed the Defendant via a comment on their website (can email you video) and with a formal letter
                      dated January 9, 2021 and mailed via UPS. I haven't heard anythign back like usual from anyone in thi
                      disgusting country. I saw the same DVD today (January 28, 2021) still being sold (can show you my
                      phone with the date and location where i took the photo). [see Dr. Mickey Socrates Ferdynand® v
                      Disney Enterprises II Walt Disney Company; Case # '21 CV0050WQHJLB]

IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.



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          I ask the US District Court to please help me have the USA govenrment acknowledge my mark and protect its
          little integrity it has left. In addition, I ask the Court to please help me with how this legal proceeding process
          works as I am only filling, but what happens next? I have tried contacting attorneys but no one replies back or
          wants to take my cases. It's unfair to be doing this unprepared and unexperienced in legal matters. Furthermore,
          I aks the Court to please Order the Plaintiffs to pay for damages and for making me buy my own mark and
          making them richer. Homeland Security has dishonered me (a USA citizen) by never protecting my mark in USA.

V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.


          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:                      01/28/2021


                     Signature of Plaintiff                  /Dr. Mickey Socrates Ferdynand®/
                     Printed Name of Plaintiff               Dr. Mickey Socrates Ferdynand®


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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B. The Defendant(s)

2.The defendant, (name) USA Department ofHomeland Security, is incorporated under
the laws of the State of (name) USA, and has its principal place of business in the
State of (name) USA. Or is incorporated under the laws of (foreign nation) USA, and
has its principal place of business in (name) USA.
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Target Corporation
I 000 Nicollet Mall
Minneapolis, MN 55403
United States of America

Dr. Mickey Socrates Ferdynand®
20 I 06 Waco Rd
Apple Valley, CA 92308
United States of America


                                                                                                      January 9, 2021


Target Corporation,




On September 30, 2020 it was discovered that you were the distributor of goods/services that contained, in part or in
whole, a registered mark with the United States Trademark and Patent Office. I, the owner and principal registrant
of, Mickey Socrates Ferdynand® now demand that all the merchandize with my mark, whether in part or in whole,
be removed from all shelves and Targets and its affiliates across the nation and whatnot. This mark was Used without
a licensing agreement by Disney and its affiliates, whom are part of a legal proceeding regarding the matter.


In addition, because you are now found guilty oftradernark/servicemark defamation and infiingement and patent
infringement and defamation (as it is a patent pending as well) I am demanding you pay me the amount of
$1,000,000,000,000,000.0I for damages and whatnot. I am also seeking part ownership of Target Corporation to
repay for what you have done to my mark and patent pending.


You can make payments and transfer of ownership voluntarily or I will take this to a United States federal court
where I will prove that you committed the above. I will give you thirty (30) calendar days to voluntarily surrender
the requested. You can look up the mark on the United States Trademark and Patent Office's search tool if you think
this is a joke or a false allegation.


The above was discovered in Riverside, California; I had to purchase my own mark-how disgusting is that?




Regards,


/Dr. Mickey Socrates Ferdynand®/
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                                   Mickey Socrates F erdynand


Reg. No. 5,764,975                  Molina, Carlos (UNITED STATES INDIVIDUAL)
                                    20!06 Waco Rd
Registered May 28, 2019             Apple Valley, CALIFORNIA 92308

                                    CLASS 41: Adult entertainment services, namely, gentlemen's clubs featuring exotic dancing;
Int. CI.: 41                        Analyzing of educational test scores and data for others; Animation production services;
                                    Arranging and conducting athletic competitions; Arranging and conducting business seminars
Service Mark                        in the field of chemistry, phannaceutics, and medicine; Arranging and conducting special
                                    events for social entertainment purposes; Arranging professional workshop and training
Principal Register                  courses; Arranging, organizing, conducting, and hosting social entertainment events; Athletic
                                    and sports event services, namely, arranging, organizing, operating and conducting marathon
                                    races; Audio and video recording services; Audio mastering; Audio production services,
                                    namely, creating and producing ambient soundscapes, and sound stories for museums,
                                    galleries, attractions, podcasts, broadcasts, websites and games; Audio recording and
                                    production; Augmented reality video production; Book and review publishing; Book
                                    publishing; Cinema studios; Cinema theaters; Cinematographic adaptation and editing;
                                    Cinematography services; Coaching in the field of sports; Composition of music for others;
                                    Conducting fellowship training programs in the field of chemistry, sociology, the Humanities,
                                    and pharmaceutics,; Conducting fitness classes; Conducting of sports competitions;
                                    Conducting workshops and seminars in chemistry, sociology, the Humanities, phannaceutics,
                                    and health and fitness; Consulting services in the field of photography; Consulting services in
                                    the field of academic training; Consulting services in the fields of fitness and exercise;
                                    Continuing public service programs in the field of chemistry, sociology, the Humanities,
                                    phannaceutics, and health and fitness produced and distributed over television, satellite, film,
                                    audio, video, internet, and 3-D virtual reality media; Copy editing; Creating and developing
                                    concepts for television programs; Custom art drawing for others; Custom art sketching for
                                    others; Custom painting of artwork for others; Custom painting of artwork in the nature of
                                    original designs on clothing, bags, pottery for others; Custom painting of decorative artwork
                                    on house interiors for others; Dance studios; Developing educational lesson plans for others
                                    in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
                                    Developing educational manuals for others in the field of chemistry, sociology, the
                                    Humanities, pharmaceutics, and health and fitness; Developing training systems and learning
                                    methodologies for others; Development and dissemination of printed educational materials of
                                    others in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
                                    fitness; Digital imaging services; Digital video, audio, and multimedia publishing services;
                                    Direction or presentation of plays; Distribution of motion picture films; Distribution of
                                    television programs featuring news, comedy, commentary featuring distinct speakers for
                                    others to cable television systems; Distribution of television programs for others; Editing or
                                    recording of sounds and images; Educating at university or colleges; Education in the fields
   Director of the United States    of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness rendered
   Patent and Trademark Office      through correspondence courses; Education services in the nature of courses at the university
                                    level; Education services, namely, mentoring in the field of chemistry, sociology, the
                                    Humanities, pharmaceutics, and health and fitness; Education services, namely, one-on-one
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                      mentoring in the fields of chemistry, sociology, the Humanities, pharmaceutics, and health
                      and fitness; Education services, namely, providing hands-on opportunities for children in the
                      field of intuitive engineering through live, broadcast, and on-line classes, seminars,
                      workshops, training and curriculum development for children, parents and educators;
                      Education services, namely, providing live and on-line academic research findings in the field
                      of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Education
                      services, namely, providing mentoring, tutoring, classes, seminars and workshops in the field
                      of chemistry and sociology; Education services, namely, providing on-line content in the field
                      of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Education
                      services, namely, providing tutorial sessions in the field of chemistry, sociology, the
                      Humanities, pharmaceutics, and health and fitness; Education services, namely, providing
                      tutoring in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
                      fitness; Education services, namely, providing tutoring in the fields of chemistry, sociology,
                      the Humanities, pharmaceutics, and health and fitness; Education services, namely, providing
                      academic findings in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                      health and fitness; Education services, namely, providing academic findings in the fields of
                      chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Educational and
                      entertainment services, namely, a continuing program about chemistry, sociology, the
                      Humanities, pharmaceutics, and health and fitness accessible by means of radio, television,
                      satellite, audio, video, web-based applications, mobile phone applications, computer
                      networks; Educational and entertainment services, namely, conducting programs featuring
                      recreational activities, literacy training, art events, and sporting events for children in foster
                      care; Educational and entertainment services, namely, providing motivational speaking
                      services in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
                      fitness; Educational services in the nature of courses at the university-level schools;
                      Educational services, namely, conducting classes, seminars, conferences, workshops, retreats,
                      camps and field trips in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                      health and fitness and distribution of training material in connection therewith; Educational
                      services, namely, conducting distance learning instruction at the secondary, college and
                      graduate levels; Educational services, namely, conducting distance learning instruction at the
                      university level; Educational services, namely, conducting distance learning instruction at the
                      university level; Educational services, namely, conducting academic research in the field of
                      chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Educational
                      services, namely, conducting research for universities in the field of chemistry, sociology, the
                      Humanities, pharmaceutics, and health and fitness; Educational services, namely, conducting
                      research in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
                      fitness and distribution of training material in connection therewith; Educational services,
                      namely, conducting research in the field of chemistry, sociology, the Humanities,
                      pharmaceutics, and health and fitness and distribution of course materials in connection
                      therewith in printed or electronic format; Educational services, namely, conducting research
                      in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness
                      and distribution of course material in connection therewith; Educational services, namely,
                      conducting research in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                      health and fitness and distribution of course and educational materials in connection
                      therewith; Educational services, namely, developing and conducting workouts, workshops,
                      presentations, retreats, and personal training in right-brain fitness; Educational services,
                      namely, developing curriculum for educators; Educational services, namely, developing
                      curriculum for others in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                      health and fitness; Educational services, namely, developing, arranging, and conducting
                      educational conferences and programs and providing courses of instruction in the field of
                      chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Educational
                      services, namely, providing on-line content in the field of chemistry, sociology, the
                      Humanities, pharmaceutics, and health and fitness; Educational services, namely, providing a
                      continuing prerecorded audio program in the field of sound recordings accessible over the
                      internet; Educational services, namely, providing courses of instruction at the university level
                      and distribution of course material in connection therewith; Educational services, namely,
                      providing displays and exhibits in the field of chemistry, sociology, the Humanities,
                      pharmaceutics, and health and fitness; Educational services, namely, providing on-line
                      courses of instruction at the university level; Educational services, namely, providing online
                      instruction in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
                      fitness; Educational services, namely, providing online instruction in the field of chemistry,




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                       sociology, the Humanities, pharmaceutics, and health and fitness via an online website;
                       Educational services, namely, providing training of teachers, engineers for certification in the
                       field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
                       Educational services, namely, providing education in the nature of academic research in the
                       fields of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness rendered
                       through correspondence courses; Electronic book rental via the Internet; Encouraging amateur
                       sports and physical education by organizing, sanctioning, conducting, regulating and
                       governing amateur athletic programs and activities; Entertainment and education services in
                       the nature of a series of short shows featuring original material featuring variety, news,
                       comedy distributed to mobile handsets, which may include video, text, photos, illustrations or
                       hypertext; Entertainment and educational services, namely, providing a website that displays
                       various requests, reviews, recommendations, rankings, trackings, votes, and information
                       relating to uncreated, unreleased, new, special, popular, and rare products, services, and
                       events in the fields of pop culture, entertainment, education, and sports, all exclusively for
                       non-business and non-commercial transactions and purposes; Entertainment and educational
                       services, namely, the presentation of seminars, lectures, workshops and panel discussions, and
                       ongoing television and radio talk shows all in the field of public interest concerning
                       chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Entertainment
                       and educational services, namely, the presentation of seminars, workshops and panel
                       discussions, and ongoing television and radio shows all in the field of chemistry, sociology,
                       the Humanities, pharmaceutics, and health and fitness; Entertainment in the nature of an
                       ongoing special variety, news, music or comedy show featuring media broadcast over
                       television, satellite, audio, and video media; Entertainment in the nature of competitions in
                       the field of marathon running; Entertainment in the nature of dance performances;
                       Entertainment in the nature of fashion shows; Entertainment in the nature of light shows;
                       Entertainment in the nature of live performances by an actor, model and athlete;
                       Entertainment in the nature of live radio personality performances; Entertainment in the
                       nature of live stage performances in the nature of plays, concerts or lecture for hire in the field
                       of the Humanities by an individual; Entertainment in the nature of providing an informational
                       and entertainment website in the fields of celebrity gossip, entertainment, sports and fitness;
                       Entertainment in the nature of television news shows; Entertainment in the nature of theater
                       productions; Entertainment in the nature of track and field competitions; Entertainment in the
                       nature of providing temporary use of non-downloadable electronic games; Entertainment in
                       the nature of competitive games; Entertainment in the nature of competitive automobile, dog,
                       horse, yacht races; Entertainment information; Entertainment information services, namely,
                       providing information and news releases about a musical artist; Entertainment media
                       production services for motion pictures, television and Internet; Entertainment media
                       production services for the internet; Entertainment services by a musical artist and producer,
                       namely, musical composition for others and production of musical sound recordings;
                       Entertainment services in the nature of an ongoing IPTV (Internet Protocol Television),
                       television programming segments in the field of positive psychology, personal relationships,
                       the art and science of happiness; Entertainment services in the nature of an ongoing reality
                       based television program; Entertainment services in the nature of creation, development, and
                       production of television programming; Entertainment services in the nature of development,
                       creation, production and post-production services of multimedia entertainment content;
                       Entertainment services in the nature of development, creation, production, distribution, and
                       post-production of motion pictures; Entertainment services in the nature of live audio
                       performances by actors, musical bands, rock groups, dancers; Entertainment services in the
                       nature of live musical performances; Entertainment services in the nature of live visual and
                       audio performances by actors and musical bands, rock groups, dancers; Entertainment
                       services in the nature of live visual and audio performances, namely, musical band, rock
                       group, gymnastic, dance, and ballet performances; Entertainment services in the nature of live
                       visual and audio performances, namely, musical, variety, news and comedy shows;
                       Entertainment services in the nature of live visual and audio performances by an actor;
                       Entertainment services in the nature of live vocal performances by actors, musical bands, rock
                       groups, dancers; Entertainment services in the nature of presenting live musical
                       perfonnances; Entertainment services in the nature of production of motion pictures;
                       Entertainment services in the nature of professional athletes competing in marathons running
                       races; Entertainment services in the nature of recording, production and post-production
                       services in the field of music; Entertainment services, namely, an on-line activity where you
                       create your own music videos; Entertainment services, namely, an ongoing multimedia



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                       program featuring comedy, action, adventure distributed via various platforms across multiple
                       forms of transmission media; Entertainment services, name]y, an ongoing series featuring
                       comedy, action and adventure provided through webcasts featuring non-downloadable video,
                        audio, and sound recordings; Entertainment services, namely, conducting parties;
                       Entertainment services, namely, contest and incentive award programs designed to reward
                       program participants who exercise, make healthy eating choices, and engage in other health-
                       promoting activities; Entertainment services, namely, live appearances by celebrity actors,
                       athletes, artists, authors and researchers; Entertainment services, namely, live, televised and
                       movie appearances by a professional entertainer; Entertainment services, namely, multimedia
                       production services; Entertainment services, namely, non-downloadable ringtones, pre-
                       recorded music, and graphics presented to mobile communications devices via a global
                       computer network and wireless networks; Entertainment services, namely, organizing and
                       conducting an array of athletic events rendered live and recorded for the purpose of
                       distribution through broadcast media; Entertainment services, namely, personal appearances
                       by celebrity actors, athletes, artists, and researchers; Entertainment services, namely, planning
                       and conducting a series of film festivals; Entertainment services, namely, production of
                       computer-generated imagery for use in motion pictures; Entertainment services, namely,
                       production of special effects including model-making services and related physical
                       production elements for use in motion pictures; Entertainment services, namely, production of
                       special effects including model-making services, computer-generated imagery and computer-
                       generated graphics for the production of motion pictures, videos, and movie trailers;
                       Entertainment services, namely, providing a web site featuring non-downloadable adult-
                       themed photographs and videos; Entertainment services, namely, providing a web site
                       featuring photographic and prose presentations featuring music and movies; Entertainment
                       services, namely, providing a web site featuring photographic, audio, video and prose
                       presentations featuring music and movies; Entertainment services, namely, providing a
                       website at which the general public can receive advice from an individual or entity
                       concerning happiness, such advice being for entertainment purposes only; Entertainment
                       services, namely, providing a website featuring advice concerning personal relationships,
                       such advice being for entertainment purposes only; Entertainment services, namely, providing
                       advice and information for music, video and film concept and script development;
                       Entertainment services, namely, providing an ongoing radio program in the field of
                       chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Entertainment
                       services, namely, providing images and text featuring animal stories and pictures on-line and
                       in mobile wireless form; Entertainment services, namely, providing information about a
                       recording artist via an online network; Entertainment services, namely, providing information
                       by means of a global computer network in the fields of celebrities, entertainment, and popular
                       culture; Entertainment services, namely, providing live entertainment by dancers via the
                       Internet; Entertainment services, namely, providing non-downloadable playback of music via
                       global communications networks; Entertainment services, namely, providing non-
                       downloadable prerecorded music, information in the field of music, and commentary and
                       articles about music, all on-line via a global computer network; Entertainment services,
                       namely, providing on-line reviews of copyrighted material featuring movies, books, music,
                       computer games; Entertainment services, namely, providing on-line, non-downloadable
                       virtual clothing, pets, furniture for use in virtual environments created for entertainment
                       purposes; Entertainment services, namely, providing ongoing television programs in the field
                       of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness via a global
                       computer network; Entertainment services, namely, providing ongoing webisodes featuring
                       academic research via a global computer network; Entertainment services, namely, providing
                       podcasts in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
                       fitness; Entertainment services, namely, providing video podcasts in the field of chemistry,
                       sociology, the Humanities, pharmaceutics, and health and fitness; Entertainment services,
                       namely, providing webcasts in the field of chemistry, sociology, the Humanities,
                       pharmaceutics, and health and fitness; Entertainment services, namely, storytelling;
                       Entertainment services, namely, televised appearances by celebrity actors, athletes, artists,
                       authors and researchers; Entertainment services, namely, the provision of continuing
                       professional education featuring television shows and music delivered by television, radio,
                       satellite, the internet; Entertainment services, namely, cultural food tastings; Entertainment,
                       namely, a continuing livestream variety, news, comedy show broadcast over television,
                       satellite, audio, and video media; Entertainment, namely, a continuing livestream variety,
                       news, comedy show broadcast over non-downloadable applications on the internet;



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                       Entertainment, namely, lighting production; Entertainment, namely, live music concerts;
                       Entertainment, namely, live performances by a musical band; Entertainment, namely,
                       preparation of special effects; Entertainment, namely, production of sound recordings, films,
                       cable television programs; Entertainment, namely, television news shows; Establishing and
                       maintaining by registration a uniform standard of amateur standing for athletics; Fashion
                       modeling for entertainment purposes; Film and video film production; Film and video
                       production; Film and video production consulting services; Film and video tape film
                       production; Film distribution; Film editing; Film mastering services; Film production; Film
                       production, other than advertising films; Film rental; Film studios; Hosting social
                       entertainment events, namely, karaoke, parties, birthday parties, dinner parties, for others;
                       Information on education; Information relating to entertainment and education provided on-
                       line from a computer database or the internet; Instruction in the field of chemistry, sociology,
                       the Humanities, phannaceutics, and health and fitness; Interactive on-line training services in
                       the field of chemistry, sociology, the Humanities, phannaceutics, and health and fitness;
                       Interactive online web journals featuring academic research; Interpreter services; Language
                       interpretation; Language interpreter services; Language interpreting; Language translation;
                       Live performances by a musical group; Live performances featuring prerecorded vocal and
                       instrumental performances viewed on a big screen; Magazine publishing; Media production
                       location scouting services for entertainment purposes; Media production services, namely,
                       video and film production; Microfilming; Microfilming for others; Modeling for artists;
                       Modelling for artists; Motion picture and video rental services; Motion picture camera rental
                       services; Motion picture film production; Motion picture rental; Motion picture song
                       production; Motion picture theaters; Movie showing; Movie studio services; Multimedia
                       entertainment services in the nature of development, production and post-production services
                       in the fields of video and films; Multimedia entertainment services in the nature of recording,
                       production and post-production services in the fields of music, video, and films; Multimedia
                       entertainment software production services; Multimedia publishing of books, magazines,
                       journals, software, games, music, and electronic publications; Mural art painting services;
                       Music composition and transcription for others; Music composition for others; Music
                       composition services; Music production services; Music publishing services; Music selection
                       services for use in television, film, radio and video games; Music video production; Musical
                       event booking agencies; News agencies, namely, gathering and dissemination of news; News
                       reporter services in the nature of news analysis and news commentary; News reporters
                       services; Non-downloadable electronic publications in the nature of e-books, articles in the
                       field of chemistry, sociology, the Humanities, phannaceutics, and health and fitness; On-line
                       academic library services; On-line electronic newsletters delivered by e-mail in the field of
                       chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Online
                       electronic publishing of books and periodicals; Open-access publishing services, namely,
                       publication of electronic e-books, articles; Operating of fihn studios; Organisation of
                       exhibitions for cultural or educational purposes; Organisation of fashion shows for
                       entertainment purposes; Organization of exhibitions for musical entertainment; Organization
                       of fashion shows for entertainment purposes; Organization of seminars; Organizing and
                       arranging exhibitions for entertainment purposes; Organizing and conducting athletic
                       competitions and games in the field of marathon running; Organizing and conducting
                       educational study groups in the field of chemistry, sociology, the Humanities, phannaceutics,
                       and health and fitness; Organizing and hosting of events for cultural purposes; Organizing
                       events in the field of chemistry, sociology, the Humanities, phannaceutics, and health and
                       fitness for cultural or educational purposes; Organizing exhibitions in the field of chemistry,
                       sociology, the Humanities, phannaceutics, and health and fitness for cultural or educational
                       purposes; Organizing live exhibitions and conferences in the fields of education, culture,
                       sports and entertainment for non-business and non-commercial purposes; Organizing on-line
                       exhibitions and conferences in the fields of education, culture, sports and entertainment for
                       non-business and non-commercial purposes; Organizing conferences, symposia, and
                       workshops festivals for cultural or entertainment purposes; Organizing, arranging and
                       conducting philanthropic social entertainment events, the proceeds of which are donated to
                       charity; Organizing, arranging, and conducting educational, cultural, academic, and
                       professional events; Personal coaching services in the field of chemistry, sociology, the
                       Humanities, phannaceutics, and health and fitness; Personal fitness training services; Personal
                       fitness training services and consultancy; Personal fitness training services featuring aerobic
                       and anaerobic activities combined with resistance and flexibility training; Personal trainer
                       services; Personal trainer services; Personal training provided in connection with weight loss



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                       and exercise programs; Personal training services, namely, strength and conditioning training;
                       Personal training services, namely, strength and conditioning training and speed training;
                       Philanthropic services, namely, lending art to art institutions; Photo editing; Photographic and
                       video services, namely, photographic and video capture; Photographic composition for others;
                       Photographic computer imaging; Photographic reporting; Photography; Photography services;
                       Physical fitness assessment services; Physical fitness consultation; Physical fitness
                       instruction; Physical fitness training of individuals and groups; Physical fitness training
                       services; Planning arrangement of showing movies, shows, plays or musical performances;
                       Poem and lyric writing; Portrait painting services; Portrait photography; Portrait photography
                       services; Post-production editing of motion pictures; Post-production editing services in the
                       field of music, videos and film; Preparing subtitles for movies; Preparing surtitles for live
                       theatrical events; Presentation of musical performances; Production and distribution of
                       independent motion pictures; Production and distribution of monoscopic and stereoscopic,
                       electronic, digital video and film; Production and distribution of motion pictures; Production
                       and distribution of radio programmes; Production and distribution of radio programs;
                       Production and distribution of television shows and movies; Production and distribution of
                       videos in the field of chemistry, sociology, the Humanities, phannaceutics, and health and
                       fitness; Production of audio recording; Production of closed caption television programs;
                       Production of DVDs, videotapes and television programs featuring music and comedy;
                       Production of film studies; Production of films; Production of humorous videos for the
                       Internet; Production of monoscopic and/or stereoscopic, electronic, digital video and/or film;
                       Production of movie special effects; Production of music; Production of musical sound
                       recording; Production of musical videos; Production of radio and television programs;
                       Production of radio or television programs; Production of radio programmes; Production of
                       radio programs; Production of sound and image recordings on sound and image carriers;
                       Production of sound and music video recordings; Production of sound recordings; Production
                       of sound recordings, namely, songs, podcasts etc.; Production of television and radio
                       programmes; Production of television programs; Production of video and creation of visual
                       effects for others for use in DVDs, television programs and on web sites; Production of video
                       discs and tapes; Production of video discs for others; Production of visual effects for videos,
                       DVDs, television and for internet web sites; Professional coaching services in the field of
                       chemistry, sociology, the Humanities, phannaceutics, and health and fitness; Programming on
                       a global computer network; Proof reading of manuscripts; Providing a database featuring
                       information about artists; Providing a web site featuring information on exercise and fitness;
                       Providing a web site featuring information on historic figures; Providing a web site featuring
                       non-downloadable instructional videos in the field of chemistry, sociology, the Humanities,
                       phannaceutics, and health and fitness; Providing a web site featuring sporting information;
                       Providing a web site featuring the ratings, reviews and recommendations of users on events
                       and activities in the field of entertainment and education; Providing a web site that features
                       informal instruction on chemistry, sociology, the Humanities, phannaceutics, and health and
                       fitness; Providing a website featuring academic information in the field of biblical worldview
                       education for the purpose of academic study; Providing a website featuring entertainment
                       information; Providing a website featuring entertainment information in the field(s) of motion
                       pictures; Providing a website featuring information about artistic styles; Providing a website
                       featuring information in the field of art, art history, art culture and art appreciation; Providing
                       a website featuring information in the field of music and entertainment; Providing a website
                       featuring information on exercise and fitness; Providing a website featuring information
                       relating to the sport of marathon running; Providing a website featuring non-downloadable
                       articles in the field of chemistry, sociology, the Humanities, phannaceutics, and health and
                       fitness; Providing a website featuring non-downloadable audio recordings in the field of the
                       Humanities; Providing a website featuring non-downloadable game software; Providing a
                       website featuring non-downloadable photographs; Providing a website featuring non-
                       downloadable photographs in the field of the Humanities; Providing a website featuring non-
                       downloadable publications in the nature of e-books, articles in the field of chemistry,
                       sociology, the Humanities, pharmaceutics, and health and fitness; Providing a website
                       featuring non-downloadable videos in the field of chemistry, sociology, the Humanities,
                       phannaceutics, and health and fitness; Providing a website featuring non-downloadable
                       videos, namely, video presentations of a comedic nature; Providing a website featuring
                       resources, namely, a website featuring primarily non-downloadable publications in the nature
                       of e-books, articles in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                       health and fitness and also featuring non-downloadable software for data management of



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                       global interfaces; Providing an interactive website featuring advice and information in the
                       field of collegiate athletics programs; Providing an Internet news portal featuring links to
                       news stories and articles in the field of current events; Providing an Internet website portal
                       featuring links to musical artist websites and music performance ticket information; Providing
                       an Internet website portal in the field of entertainment, cultural and sporting events; Providing
                       an Internet website portal in the field of music; Providing an on-line computer database
                       featuring information regarding exercise and fitness; Providing an on-line publication in the
                       nature of an interactive encyclopedia in the field of chemistry, sociology, the Humanities,
                       pharmaceutics, and health and fitness; Providing audio or video studios; Providing automated
                       filming of sports games; Providing classes, workshops, seminars and camps in the field of
                       chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Providing
                       classroom instruction at the university level using religious, military, Reggio Emilia
                       principles; Providing courses of instruction at the university level; Providing courses of
                       instruction at the university level for academic and research purposes; Providing current event
                       news via a global computer network; Providing education courses in the field of chemistry,
                       pharmaceutics, the Humanities, and sociology offered through online, non-downloadable
                       videos and instructor assistance; Providing education in the field of chemistry, sociology, the
                       Humanities, pharmaceutics, and health and fitness rendered through correspondence courses;
                       Providing education in the field of chemistry, sociology, the Humanities, phannaceutics, and
                       health and fitness rendered through video conference; Providing education in the field of the
                       Humanities rendered through live theater performances; Providing educational assessment
                       services; Providing educational demonstrations; Providing educational demonstrations in the
                       field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
                       Providing educational information in the academic field of science for the purpose of
                       academic study; Providing educational information in the academic field of chemistry,
                       sociology, the Humanities, pharmaceutics, and health and fitness for the purpose of academic
                       study; Providing entertainment information via a website; Providing facilities for movies,
                       shows, plays, music or educational training; Providing facilities for producing video, cinema
                       and photography productions; Providing films, not downloadable, via video-on-demand
                       transmission services; Providing fitness training services in the field of health and fitness;
                       Providing information about education; Providing information and articles in the field of film,
                       filmmaking, and entertainment via a global computer network; Providing information and
                       news in the field of current events relating to chemistry, sociology, the Humanities,
                       pharmaceutics, and health and fitness; Providing information and news in the field of teaching
                       methodology and education; Providing information in the field of art; Providing information
                       in the field of entertainment, featuring animation rendered by means of a global computer
                       network; Providing information in the field of exercise training; Providing information in the
                       field of visual and performing art; Providing information on physical exercise; Providing
                       information on teaching methodology and education issues to music educators; Providing
                       information on-line relating to virtual vehicle customization for hobby or entertainment
                       purposes; Providing information regarding the production and distribution of ongoing
                       television programs in the field of chemistry, sociology, the Humanities, phannaceutics, and
                       health and fitness; Providing information relating to education services; Providing
                       information relating to sporting, cultural and live theatrical productions; Providing
                       information relating to sports and sporting events; Providing information relating to the
                       organizing of educational, cultural, sporting, or entertainment exhibitions; Providing
                       information, news and commentary in the field of current events relating to the gay
                       community; Providing information, news and commentary in the field of current events
                       relating to the gay, lesbian, bisexual and transgender community; Providing infonnation,
                       news and commentary in the field of current events relating to American Ideologies;
                       Providing information, news and commentary in the field of entertainment; Providing
                       information, news and commentary in the field of entertainment relating to the gay
                       community; Providing news and information in the field of sports; Providing news in the
                       nature of current event reporting relating to chemistry, sociology, the Humanities,
                       pharmaceutics, and health and fitness via the Internet; Providing on-line art exhibitions;
                       Providing on-line entertainment information, namely, information about television
                       programming; Providing on-line information and news in the field of employment training;
                       Providing on-line magazines in the field of chemistry, sociology, the Humanities,
                       phannaceutics, and health and fitness; Providing on-line music, not downloadable; Providing
                       on-line newsletters in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                       health and fitness; Providing on-line non-downloadable articles in the field of chemistry,




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                       sociology, the Humanities, pharmaceutics, and health and fitness; Providing on-line
                       publications in the nature of applications concerning chemistry, sociology, the Humanities,
                       pharmaceutics, and health and fitness; Providing on-line publications in the nature of e-books
                       in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
                       Providing on-line publications in the nature of e-books, news articles in the field of chemistry,
                       sociology, the Humanities, pharmaceutics, and health and fitness; Providing on-line videos
                       featuring music mathematics instruction, not downloadable; Providing online non-
                       downloadable e-books in the field of chemistry, sociology, the Humanities, pharmaceutics,
                       and health and fitness; Providing online non-downloadable journals in the field of chemistry,
                       sociology, the Humanities, pharmaceutics, and health and fitness; Providing personal fitness
                       training for athletes and runners; Providing personal training and physical fitness consultation
                       to individuals to help them make physical fitness, strength, conditioning, and exercise
                       improvement in their daily living; Providing ratings and reviews of publications, namely,
                       chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Providing
                       recognition and incentives by the way of awards to demonstrate excellence in the field of
                       science, mathematics, and the Humanities; Providing science educational mentoring services
                       and programs; Providing sports information in the field of marathon running; Providing
                       sports training information and advice via a website; Providing television programs, not
                       downloadable, via video-on-demand transmission services; Providing voice overs for tapes,
                       records and other recorded media for entertainment and education purposes; Provision of
                       facilities for artists' studios and exhibits; Provision of information relating to distribution of
                       television shows, motion picture film and radio shows; Provision of information relating to
                       live entertainment; Provision of information relating to live performances, road shows, live
                       stage events, theatrical performances, live music concerts and audience participation in such
                       events; Provision of information relating to multimedia entertainment software production
                       services; Provision of information relating to multimedia publishing; Provision of information
                       relating to music; Provision of information relating to publishing of electronic publications;
                       Provision of information relating to television, motion picture film, audio and radio
                       production; Provision of information relating to theatre productions; Provision of non-
                       downloadable films and movies via a video-on-demand service; Provision of non-
                       downloadable films and television programmes via a video-on-demand service; Publication
                       and editing of printed matter; Publication of books; PubJication of books, magazines,
                       almanacs and journals; Publication of books, of magazines, of journals, of newspapers, of
                       periodicals, of catalogs, of brochures; Publication of books, reviews; Publication of
                       brochures; Publication of calendars; Publication of documents in the field of training, science,
                       public law and social affairs; Publication of electronic magazines; Publication of journals;
                       Publication of leaflets; Publication of magazines; Publication of manuals; Publication of
                       musical texts; Publication of on-line articles, journals, manuscripts; Publication of
                       periodicals; Publication of printed matter; Publication of text books; Publication of textbooks;
                       Publication of texts, books, journals; Publication of the editorial content of sites accessible via
                       a global computer network; Publication of research articles and journals, academic books,
                       pamphlets, textbooks, and brochures; Publishing and issuing of scientific papers in the field
                       of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Publishing
                       and issuing scientific papers in relation to medical technology; Publishing audio books in the
                       field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
                       Publishing books in the field of chemistry, sociology, the Humanities, pharmaceutics, and
                       health and fitness; Publishing e-books in the field of chemistry, sociology, the Humanities,
                       pharmaceutics, and health and fitness; Publishing of books and reviews; Publishing of books,
                       e-books, audio books, music and illustrations; Publishing of books, magazines; Publishing of
                       electronic publications; Publishing of journals, books and handbooks in the field of medicine;
                       Publishing of reviews; Publishing of web magazines; Radio entertainment production; Record
                       master production; Record mastering; Recording studio services; Recording studios;
                       Reference libraries of literature and documentary records; Rental and leasing of professional
                       sound equipment and parts; Rental of anatomical models for educational purposes; Rental of
                       artwork; Rental of audiovisual equipment; Rental of cinema films; Rental of cinema
                       projection apparatus and accessories; Rental of cinematographic films; Rental of electronic
                       books that may be downloaded from an Internet website; Rental of facilities and equipment
                       for the production of radio and television programs, musical and theatrical productions,
                       namely, performance venues, studios, sets, dressing rooms; Rental of facilities and equipment
                       for the production of television programs; Rental of film production studios; Rental of film
                       production studios for motion picture films, animated films; Rental of film projection



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                       equipment; Rental of films; Rental of lighting apparatus for theatrical sets or television
                       studios; Rental of magazines; Rental of motion picture films; Rental of motion pictures;
                       Rental of movie projectors and accessories; Rental of musical instruments; Rental of musical
                       recordings that may be downloaded from an Internet web site; Rental of photographic
                       equipment; Rental of portable multimedia viewing terminals; Rental of portable photography
                       and/or videography booths for taking of pictures and videos; Rental of pre-recorded videos
                       that may be downloaded from an Internet web site; Rental of sound recordings; Rental of
                       stage and movie equipment, namely, camera equipment, lighting equipment and grip
                       equipment; Rental of stage scenery; Rental of television sets; Rental of video tapes and
                       motion pictures; Rental of videotapes; Research in the field of education; Research in the
                       field of education via the internet; Screenplay writing; Scriptwriting services for non-
                       advertising purposes; Scriptwriting, other than for advertising purposes; Songwriting; Sound
                       mixing; Sound recording studios; Special effects animation services for film and video;
                       Sports instruction services; Sports training services; Sports training services in the field of
                       running and strength training; Subtitling; Teaching in the field of chemistry; Teaching,
                       training, tutoring and courses of instruction at the undergraduate, graduate and post-graduate
                       level; Television and radio programming; Television program syndication; Television
                       programming; Television scheduling; Television show production; Theatre productions;
                       Training for handling scientific instruments and apparatus for research in laboratories;
                       Training in the use and operation of chemistry instrumentation; Training in the use of
                       laboratory equipment; Training services in the field of chemistry, sociology, the Humanities,
                       phannaceutics, and health and fitness; Translation; Translation services; Video editing; Video
                       mastering services; Video production services; Video tape editing; Video tape film
                       production; Video tape recording for others; Videography services; Videotape editing;
                       Videotape production; Videotaping; Videotaping for personal inventory purposes; Wedding
                       photography services; Workshops and seminars in the field of chemistry, sociology, the
                       Humanities, pharmaceutics, and health and fitness; Writing of articles for journals other than
                       for advertising or publicity; Writing of articles for periodicals other than for advertising or
                       publicity; Writing of articles for professional journals other than for advertising or publicity;
                       Written text editing

                        FIRST USE 1-1-2016; IN COMMERCE 3-30-2018

                       THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                       PARTICULAR FONT STYLE, SIZE OR COLOR

                       The Name "MICKEY SOCRATES FERDYNAND" identifies a living individual whose
                       consent is of record.

                        SER. NO. 87-838,717, FILED 03-18-2018




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          REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

     Requirements in the First Ten Years*
     What and When to File:

        • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
           years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
           registration will continue in force for the remainder of the ten-year period, calculated from the registration
           date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

        • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
           for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


     Requirements in Successive Ten-Year Periods*
     What and When to File:

        • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
          between every 9th and 10th-year period, calculated from the registration date.*


     Grace Period Filings*

     The above documents will be accepted as timely if filed within six months after the deadlines listed above with
     the payment of an additional fee.

     *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
     extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
     (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
     The time periods for filing are based on the U.S. registration date (not the international registration date). The
     deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
     nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
     do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
     international registration at the International Bureau of the World Intellectual Property Organization, under
     Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
     date of the international registration. See 15 U.S.C. §114lj. For more information and renewal forms for the
     international registration, see http://www.wipo.int/madrid/en/.

     NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
     USPTO website for further information. With the exception of renewal applications for registered
     extensions of protection, you can file the registration maintenance documents referenced above online at h
     ttp://www.uspto.gov.

     NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will he sent to trademark
     owners/holders who authorize e-mail communication and maintain a current e-mail address with the
     USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
     Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
     available athttp://www.uspto.gov.




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Acknowledgement Receipt
The USPTO has received your submission at 01:06:48 Eastern Time on 10-OCT-2020 .

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eFiled Application Information
 EFS ID                                                                         40811794

Application Number                                                              63090179

Confirmation Number                                                             3287

Title                                                                            Mickey Socrates Ferdynand

 First Named Inventor                                                            Mickey Socrates Ferdynand


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 Filed By                                                                       Mickey Ferdynand'M&#65039;

Attorney Docket Number

 Filing Date

 Receipt Date                                                                    10-OCT-2020

Application Type                                                                Provisiona I

Application Details
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          New Ai;,Qlications Under 35 U.S.C. 111

If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

          National Stage of an International Ai;,Qlication under 35 U.S.C. 371

If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

          New International A1212lication Filed with the USPTO as a Receiving Office

If a new international application is being filed and the international application includes the necessary components
for an international filing date (see PCT Article 11 and MPEP 1810), a Notification of the International Application
Number and of the International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions
concerning national security, and the date shown on this Acknowledgement Receipt will establish the international
filing date of the application.

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    41     Adult entertainment services, namely, gentlemen's clubs featuring exotic dancing; Analyzing of
           educational test scores and data for others; Animation production services; Arranging and conducting
           athletic competitions; Arranging and conducting business seminars in the field of chemistry,
           pharmaceutics, and medicine; Arranging and conducting special events for social entertainment
           purposes; Arranging professional workshop and training courses; Arranging, organizing, conducting,
           and hosting social entertainment events; Athletic and sports event services, namely, arranging,
           organizing, operating and conducting marathon races; Audio and video recording services; Audio
           mastering; Audio production services, namely, creating and producing ambient soundscapes, and
           sound stories for museums, galleries, attractions, podcasts, broadcasts, websites and games; Audio
           recording and production; Augmented reality video production; Book and review publishing; Book
           publishing; Cinema studios; Cinema theaters; Cinematographic adaptation and editing;
           Cinematography services; Coaching in the field of sports; Composition of music for others; Conducting
           fellowship training programs in the field of chemistry, sociology, the Humanities, and pharmaceutics,;
           Conducting fitness classes; Conducting of sports competitions; Conducting workshops and seminars in
           chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Consulting services in the
           field of photography; Consulting services in the field of academic training; Consulting services in the
           fields of fitness and exercise; Continuing public service programs in the field of chemistry, sociology,
           the Humanities, pharmaceutics, and health and fitness produced and distributed over television,
           satellite, film, audio, video, internet, and 3-D virtual reality media; Copy editing; Creating and
           developing concepts for television programs; Custom art drawing for others; Custom art sketching for
           others; Custom painting of artwork for others; Custom painting of artwork in the nature of original
           designs on clothing, bags, pottery for others; Custom painting of decorative artwork on house interiors
           for others; Dance studios; Developing educational lesson plans for others in the field of chemistry,
           sociology, the Humanities, pharmaceutics, and health and fitness; Developing educational manuals for
           others in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Developing training systems and learning methodologies for others; Development and dissemination of
           printed educational materials of others in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Digital imaging services; Digital video, audio, and multimedia
           publishing services; Direction or presentation of plays; Distribution of motion picture films; Distribution
           of television programs featuring news, comedy, commentary featuring distinct speakers for others to
           cable television systems; Distribution of television programs for others; Editing or recording of sounds
           and images; Educating at university or colleges; Education in the fields of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness rendered through correspondence courses;
           Education services in the nature of courses at the university level; Education services, namely,
           mentoring in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Education services, namely, one-on-one mentoring in the fields of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness; Education services, namely, providing hands-on
           opportunities for children in the field of intuitive engineering through live, broadcast, and on-line
           classes, seminars, workshops, training and curriculum development for children, parents and
           educators; Education services, namely, providing live and on-line academic research findings in the
           field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Education
           services, namely, providing mentoring, tutoring, classes, seminars and workshops in the field of
           chemistry and sociology; Education services, namely, providing on-line content in the field of chemistry,
           sociology, the Humanities, pharmaceutics, and health and fitness; Education services, namely,
           providing tutorial sessions in the field of chemistry, sociology, the Humanities, pharmaceutics, and
           health and fitness; Education services, namely, providing tutoring in the field of chemistry, sociology,
           the Humanities, pharmaceutics, and health and fitness; Education services, namely, providing tutoring
           in the fields of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Education
           services, namely, providing academic findings in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Education services, namely, providing academic findings in the
           fields of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Educational and
           entertainment services, namely, a continuing program about chemistry, sociology, the Humanities,


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           pharmaceutics, and health and Itness accessible by means of radio, television, satellite, audio, video,
           web-based applications, mobile phone applications, computer networks; Educational and
           entertainment services, namely, conducting programs featuring recreational activities, literacy training,
           art events, and sporting events for children in foster care; Educational and entertainment services,
           namely, providing motivational speaking services in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Educational services in the nature of courses at the university-
           level schools; Educational services, namely, conducting classes, seminars, conferences, workshops,
           retreats, camps and field trips in the field of chemistry, sociology, the Humanities, pharmaceutics, and
           health and fitness and distribution of training material in connection therewith; Educational services,
           namely, conducting distance learning instruction at the secondary, college and graduate levels;
           Educational services, namely, conducting distance learning instruction at the university level;
           Educational services, namely, conducting distance learning instruction at the university level;
           Educational services, namely, conducting academic research in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness; Educational services, namely, conducting research
           for universities in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
           fitness; Educational services, namely, conducting research in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness and distribution of training material in connection
           therewith; Educational services, namely, conducting research in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness and distribution of course materials in connection
           therewith in printed or electronic format; Educational services, namely, conducting research in the field
           of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness and distribution of
           course material in connection therewith; Educational services, namely, conducting research in the field
           of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness and distribution of
           course and educational materials in connection therewith; Educational services, namely, developing
           and conducting workouts, workshops, presentations, retreats, and personal training in right-brain
           fitness; Educational services, namely, developing curriculum for educators; Educational services,
           namely, developing curriculum for others in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Educational services, namely, developing, arranging, and
           conducting educational conferences and programs and providing courses of instruction in the field of
           chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Educational services,
           namely, providing on-line content in the field of chemistry, sociology, the Humanities, pharmaceutics,
           and health and fitness; Educational services, namely, providing a continuing prerecorded audio
           program in the field of sound recordings accessible over the internet; Educational services, namely,
           providing courses of instruction at the university level and distribution of course material in connection
           therewith; Educational services, namely, providing displays and exhibits in the field of chemistry,
           sociology, the Humanities, pharmaceutics, and health and fitness; Educational services, namely,
           providing on-line courses of instruction at the university level; Educational services, namely, providing
           online instruction in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
           fitness; Educational services, namely, providing online instruction in the field of chemistry, sociology,
           the Humanities, pharmaceutics, and health and fitness via an online website; Educational services,
           namely, providing training of teachers, engineers for certification in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness; Educational services, namely, providing education
           in the nature of academic research in the fields of chemistry, sociology, the Humanities, pharmaceutics,
           and health and fitness rendered through correspondence courses; Electronic book rental via the
           Internet; Encouraging amateur sports and physical education by organizing, sanctioning, conducting,
           regulating and governing amateur athletic programs and activities; Entertainment and education
           services in the nature of a series of short shows featuring original material featuring variety, news,
           comedy distributed to mobile handsets, which may include video, text, photos, illustrations or hypertext;
           Entertainment and educational services, namely, providing a website that displays various requests,
           reviews, recommendations, rankings, trackings, votes, and information relating to uncreated,
           unreleased, new, special, popular, and rare products, services, and events in the fields of pop culture,
           entertainment, education, and sports, all exclusively for non-business and non-commercial transactions
           and purposes; Entertainment and educational services, namely, the presentation of seminars, lectures,
           workshops and panel discussions, and ongoing television and radio talk shows all in the field of public
           interest concerning chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Entertainment and educational services, namely, the presentation of seminars, workshops and panel
           discussions, and ongoing television and radio shows all in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness; Entertainment in the nature of an ongoing special
           variety, news, music or comedy show featuring media broadcast over television, satellite, audio, and
           video media; Entertainment in the nature of competitions in the field of marathon running;
           Entertainment in the nature of dance performances; Entertainment in the nature of fashion shows;


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            Entertainment in the nature of light shows; Entertainment in the nature of live performances by an
            actor, model and athlete; Entertainment in the nature of live radio personality performances;
            Entertainment in the nature of live stage performances in the nature of plays, concerts or lecture for
           hire in the field of the Humanities by an individual; Entertainment in the nature of providing an
           informational and entertainment website in the fields of celebrity gossip, entertainment, sports and
           fitness; Entertainment in the nature of television news shows; Entertainment in the nature of theater
           productions; Entertainment in the nature of track and field competitions; Entertainment in the nature of
           providing temporary use of non-downloadable electronic games; Entertainment in the nature of
            competitive games; Entertainment in the nature of competitive automobile, dog, horse, yacht races;
            Entertainment information; Entertainment information services, namely, providing information and news
           releases about a musical artist; Entertainment media production services for motion pictures, television
           and Internet; Entertainment media production services for the internet; Entertainment services by a
           musical artist and producer, namely, musical composition for others and production of musical sound
           recordings; Entertainment services in the nature of an ongoing IPTV (Internet Protocol Television),
           television programming segments in the field of positive psychology, personal relationships, the art and
           science of happiness; Entertainment services in the nature of an ongoing reality based television
           program; Entertainment services in the nature of creation, development, and production of television
           programming; Entertainment services in the nature of development, creation, production and post-
           production services of multimedia entertainment content; Entertainment services in the nature of
           development, creation, production, distribution, and post-production of motion pictures; Entertainment
           services in the nature of live audio performances by actors, musical bands, rock groups, dancers;
           Entertainment services in the nature of live musical performances; Entertainment services in the nature
           of live visual and audio performances by actors and musical bands, rock groups, dancers;
           Entertainment services in the nature of live visual and audio performances, namely, musical band, rock
           group, gymnastic, dance, and ballet performances; Entertainment services in the nature of live visual
           and audio performances, namely, musical, variety, news and comedy shows; Entertainment services in
           the nature of live visual and audio performances by an actor; Entertainment services in the nature of
           live vocal performances by actors, musical bands, rock groups, dancers; Entertainment services in the
           nature of presenting live musical performances; Entertainment services in the nature of production of
           motion pictures; Entertainment services in the nature of professional athletes competing in marathons
           running races; Entertainment services in the nature of recording, production and post-production
           services in the field of music; Entertainment services, namely, an on-line activity where you create your
           own music videos; Entertainment services, namely, an ongoing multimedia program featuring comedy,
           action, adventure distributed via various platforms across multiple forms of transmission media;
           Entertainment services, namely, an ongoing series featuring comedy, action and adventure provided
           through webcasts featuring non-downloadable video, audio, and sound recordings; Entertainment
           services, namely, conducting parties; Entertainment services, namely, contest and incentive award
           programs designed to reward program participants who exercise, make healthy eating choices, and
           engage in other health-promoting activities; Entertainment services, namely, live appearances by
           celebrity actors, athletes, artists, authors and researchers; Entertainment services, namely, live,
           televised and movie appearances by a professional entertainer; Entertainment services, namely,
           multimedia production services; Entertainment services, namely, non-downloadable ringtones, pre-
           recorded music, and graphics presented to mobile communications devices via a global computer
           network and wireless networks; Entertainment services, namely, organizing and conducting an array of
           athletic events rendered live and recorded for the purpose of distribution through broadcast media;
           Entertainment services, namely, personal appearances by celebrity actors, athletes, artists, and
           researchers; Entertainment services, namely, planning and conducting a series of film festivals;
           Entertainment services, namely, production of computer-generated imagery for use in motion pictures;
           Entertainment services, namely, production of special effects including model-making services and
           related physical production elements for use in motion pictures; Entertainment services, namely,
           production of special effects including model-making services, computer-generated imagery and
           computer-generated graphics for the production of motion pictures, videos, and movie trailers;
           Entertainment services, namely, providing a web site featuring non-downloadable adult-themed
           photographs and videos; Entertainment services, namely, providing a web site featuring photographic
           and prose presentations featuring music and movies; Entertainment services, namely, providing a web
           site featuring photographic, audio, video and prose presentations featuring music and movies;
           Entertainment services, namely, providing a website at which the general public can receive advice
           from an individual or entity concerning happiness, such advice being for entertainment purposes only;
           Entertainment services, namely, providing a website featuring advice concerning personal
           relationships, such advice being for entertainment purposes only; Entertainment services, namely,
           providing advice and information for music, video and film concept and script development;


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           Entertainment services, namely, providing an ongoing radio program in the ield of chemistry,
           sociology, the Humanities, pharmaceutics, and health and fitness; Entertainment services, namely,
           providing images and text featuring animal stories and pictures on-line and in mobile wireless form;
           Entertainment services, namely, providing information about a recording artist via an online network;
           Entertainment services, namely, providing information by means of a global computer network in the
           fields of celebrities, entertainment, and popular culture; Entertainment services, namely, providing live
           entertainment by dancers via the Internet; Entertainment services, namely, providing non-
           downloadable playback of music via global communications networks; Entertainment services, namely,
           providing non-downloadable prerecorded music, information in the field of music, and commentary and
           articles about music, all on-line via a global computer network; Entertainment services, namely,
           providing on-line reviews of copyrighted material featuring movies, books, music, computer games;
           Entertainment services, namely, providing on-line, non-downloadable virtual clothing, pets, furniture for
           use in virtual environments created for entertainment purposes; Entertainment services, namely,
           providing ongoing television programs in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness via a global computer network; Entertainment services, namely,
           providing ongoing webisodes featuring academic research via a global computer network;
           Entertainment services, namely, providing podcasts in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Entertainment services, namely, providing video podcasts in the
           field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Entertainment
           services, namely, providing webcasts in the field of chemistry, ,sociology, the Humanities,
           pharmaceutics, and health and fitness; Entertainment services, namely, storytelling; Entertainment
           services, namely, televised appearances by celebrity actors, athletes, artists, authors and researchers;
           Entertainment services, namely, the provision of continuing professional education featuring television
           shows and music delivered by television, radio, satellite, the internet; Entertainment services, namely,
           cultural food tastings; Entertainment, namely, a continuing livestream variety, news, comedy show
           broadcast over television, satellite, audio, and video media; Entertainment, namely, a continuing
           livestream variety, news, comedy show broadcast over non-downloadable applications on the internet;
           Entertainment, namely, lighting production; Entertainment, namely, live music concerts; Entertainment,
           namely, live performances by a musical band; Entertainment, namely, preparation of special effects;
           Entertainment, namely, production of sound recordings, films, cable television programs;
           Entertainment, namely, television news shows; Establishing and maintaining by registration a uniform
           standard of amateur standing for athletics; Fashion modeling for entertainment purposes; Film and
           video film production; Film and video production; Film and video production consulting services; Film
           and video tape film production; Film distribution; Film editing; Film mastering services; Film production;
           Film production, other than advertising films; Film rental; Film studios; Hosting social entertainment
           events, namely, karaoke, parties, birthday parties, dinner parties, for others; Information on education;
           Information relating to entertainment and education provided on-line from a computer database or the
           internet; Instruction in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
           fitness; Interactive on-line training services in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Interactive online web journals featuring academic research;
           Interpreter services; Language interpretation; Language interpreter services; Language interpreting;
           Language translation; Live performances by a musical group; Live performances featuring prerecorded
           vocal and instrumental performances viewed on a big screen; Magazine publishing; Media production
           location scouting services for entertainment purposes; Media production services, namely, video and
           film production; Microfilming; Microfilming for others; Modeling for artists; Modelling for artists; Motion
           picture and video rental services; Motion picture camera rental services; Motion picture film production;
           Motion picture rental; Motion picture song production; Motion picture theaters; Movie showing; Movie
           studio services; Multimedia entertainment services in the nature of development, production and post-
           production services in the fields of video and films; Multimedia entertainment services in the nature of
           recording, production and post-production services in the fields of music, video, and films; Multimedia
           entertainment software production services; Multimedia publishing of books, magazines, journals,
           software, games, music, and electronic publications; Mural art painting services; Music composition
           and transcription for others; Music composition for others; Music composition services; Music
           production services; Music publishing services; Music selection services for use in television, film, radio
           and video games; Music video production; Musical event booking agencies; News agencies, namely,
           gathering and dissemination of news; News reporter services in the nature of news analysis and news
           commentary; News reporters services; Non-downloadable electronic publications in the nature of e-
           books, articles in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
           fitness; On-line academic library services; On-line electronic newsletters delivered by e-mail in the field
           of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Online electronic
           publishing of books and periodicals; Open-access publishing services, namely, publication of electronic

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           e-books, articles; perating of film studios; Organisation of exhibitions or cultural or educational
           purposes; Organisation of fashion shows for entertainment purposes; Organization of exhibitions for
           musical entertainment; Organization of fashion shows for entertainment purposes; Organization of
           seminars; Organizing and arranging exhibitions for entertainment purposes; Organizing and conducting
           athletic competitions and games in the field of marathon running; Organizing and conducting
           educational study groups in the field of chemistry, sociology, the Humanities, pharmaceutics, and
           health and fitness; Organizing and hosting of events for cultural purposes; Organizing events in the
           field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness for cultural or
           educational purposes; Organizing exhibitions in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness for cultural or educational purposes; Organizing live exhibitions
           and conferences in the fields of education, culture, sports and entertainment for non-business and non-
           commercial purposes; Organizing on-line exhibitions and conferences in the fields of education,
           culture, sports and entertainment for non-business and non-commercial purposes; Organizing
           conferences, symposia, and workshops festivals for cultural or entertainment purposes; Organizing,
           arranging and conducting philanthropic social entertainment events, the proceeds of which are donated
           to charity; Organizing, arranging, and conducting educational, cultural, academic, and professional
           events; Personal coaching services in the field of chemistry, sociology, the Humanities, pharmaceutics,
           and health and fitness; Personal fitness training services; Personal fitness training services and
           consultancy; Personal fitness training services featuring aerobic and anaerobic activities combined with
           resistance and flexibility training; Personal trainer services; Personal trainer services; Personal training
           provided in connection with weight loss and exercise programs; Personal training services, namely,
           strength and conditioning training; Personal training services, namely, strength and conditioning
           training and speed training; Philanthropic services, namely, lending art to art institutions; Photo editing;
           Photographic and video services, namely, photographic and video capture; Photographic composition
           for others; Photographic computer imaging; Photographic reporting; Photography; Photography
           services; Physical fitness assessment services; Physical fitness consultation; Physical fitness
           instruction; Physical fitness training of individuals and groups; Physical fitness training services;
           Planning arrangement of showing movies, shows, plays or musical performances; Poem and lyric
           writing; Portrait painting services; Portrait photography; Portrait photography services; Post-production
           editing of motion pictures; Post-production editing services in the field of music, videos and film;
           Preparing subtitles for movies; Preparing surtitles for live theatrical events; Presentation of musical
           performances; Production and distribution of independent motion pictures; Production and distribution
           of monoscopic and stereoscopic, electronic, digital video and film; Production and distribution of motion
           pictures; Production and distribution of radio programmes; Production and distribution of radio
           programs; Production and distribution of television shows and movies; Production and distribution of
           videos in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Production of audio recording; Production of closed caption television programs; Production of DVDs,
           videotapes and television programs featuring music and comedy; Production of film studies; Production
           of films; Production of humorous videos for the Internet; Production of monoscopic and/or stereoscopic,
           electronic, digital video and/or film; Production of movie special effects; Production of music;
           Production of musical sound recording; Production of musical videos; Production of radio and television
           programs; Production of radio or television programs; Production of radio programmes; Production of
           radio programs; Production of sound and image recordings on sound and image carriers; Production of
           sound and music video recordings; Production of sound recordings; Production of sound recordings,
           namely, songs, podcasts etc.; Production of television and radio programmes; Production of television
           programs; Production of video and creation of visual effects for others for use in DVDs, television
           programs and on web sites; Production of video discs and tapes; Production of video discs for others;
           Production of visual effects for videos, DVDs, television and for internet web sites; Professional
           coaching services in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
           fitness; Programming on a global computer network; Proof reading of manuscripts; Providing a
           database featuring information about artists; Providing a web site featuring information on exercise and
           fitness; Providing a web site featuring information on historic figures; Providing a web site featuring
           non-downloadable instructional videos in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness; Providing a web site featuring sporting information; Providing a
           web site featuring the ratings, reviews and recommendations of users on events and activities in the
           field of entertainment and education; Providing a web site that features informal instruction on
           chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Providing a website
           featuring academic information in the field of biblical worldview education for the purpose of academic
           study; Providing a website featuring entertainment information; Providing a website featuring
           entertainment information in the field(s) of motion pictures; Providing a website featuring information
           about artistic styles; Providing a website featuring information in the field of art, art history, art culture


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           and art appreciation; Providing a website eaturing information in the field of music and entertainment;
           Providing a website featuring information on exercise and fitness; Providing a website featuring
           information relating to the sport of marathon running; Providing a website featuring non-downloadable
           articles in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Providing a website featuring non-downloadable audio recordings in the field of the Humanities;
           Providing a website featuring non-downloadable game software; Providing a website featuring non-
           downloadable photographs; Providing a website featuring non-downloadable photographs in the field o
           the Humanities; Providing a website featuring non-downloadable publications in the nature of e-books,
           articles in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Providing a website featuring non-downloadable videos in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness; Providing a website featuring non-downloadable
           videos, namely, video presentations of a comedic nature; Providing a website featuring resources,
           namely, a website featuring primarily non-downloadable publications in the nature of e-books, articles
           in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness and also
           featuring non-downloadable software for data management of global interfaces; Providing an
           interactive website featuring advice and information in the field of collegiate athletics programs;
           Providing an Internet news portal featuring links to news stories and articles in the field of current
           events; Providing an Internet website portal featuring links to musical artist websites and music
           performance ticket information; Providing an Internet website portal in the field of entertainment,
           cultural and sporting events; Providing an Internet website portal in the field of music; Providing an on-
           line computer database featuring information regarding exercise and fitness; Providing an on-line
           publication in the nature of an interactive encyclopedia in the field of chemistry, sociology, the
           Humanities, pharmaceutics, and health and fitness; Providing audio or video studios; Providing
           automated filming of sports games; Providing classes, workshops, seminars and camps in the field of
           chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Providing classroom
           instruction at the university level using religious, military, Reggio Emilia principles; Providing courses of
           instruction at the university level; Providing courses of instruction at the university level for academic
           and research purposes; Providing current event news via a global computer network; Providing
           education courses in the field of chemistry, pharmaceutics, the Humanities, and sociology offered
           through online, non-downloadable videos and instructor assistance; Providing education in the field of
           chemistry, sociology, the Humanities, pharmaceutics, and health and fitness rendered through
           correspondence courses; Providing education in the field of chemistry, sociology, the Humanities,
           pharmaceutics, and health and fitness rendered through video conference; Providing education in the
           field of the Humanities rendered through live theater performances; Providing educational assessment
           services; Providing educational demonstrations; Providing educational demonstrations in the field of
           chemistry, sociology, the Humanities, pharmaceutics, and health and fitness; Providing educational
           information in the academic field of science for the purpose of academic study; Providing educational
           information in the academic field of chemistry, sociology, the Humanities, pharmaceutics, and health
           and fitness for the purpose of academic study; Providing entertainment information via a website;
           Providing facilities for movies, shows, plays, music or educational training; Providing facilities for
           producing video, cinema and photography productions; Providing films, not downloadable, via video-
           on-demand transmission services; Providing fitness training services in the field of health and fitness;
           Providing information about education; Providing information and articles in the field of film, filmmaking,
           and entertainment via a global computer network; Providing information and news in the field of current
           events relating to chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Providing information and news in the field of teaching methodology and education; Providing
           information in the field of art; Providing information in the field of entertainment, featuring animation
           rendered by means of a global computer network; Providing information in the field of exercise training;
           Providing information in the field of visual and pertorming art; Providing information on physical
           exercise; Providing information on teaching methodology and education issues to music educators;
           Providing information on-line relating to virtual vehicle customization for hobby or entertainment
           purposes; Providing information regarding the production and distribution of ongoing television
           programs in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
           Providing information relating to education services; Providing information relating to sporting, cultural
           and live theatrical productions; Providing information relating to sports and sporting events; Providing
           information relating to the organizing of educational, cultural, sporting, or entertainment exhibitions;
           Providing information, news and commentary in the field of current events relating to the gay
           community; Providing information, news and commentary in the field of current events relating to the
           gay, lesbian, bisexual and transgender community; Providing information, news and commentary in the
           field of current events relating to American Ideologies; Providing information, news and commentary in
           the field of entertainment; Providing information, news and commentary in the field of entertainment


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                relating to the gay community; Providing news and information in the field of sports; Providing news in
               the nature of current event reporting relating to chemistry, sociology, the Humanities, pharmaceutics,
               and health and fitness via the Internet; Providing on-line art exhibitions; Providing on-line entertainment
               information, namely, information about television programming; Providing on-line information and news
               in the field of employment training; Providing on-line magazines in the field of chemistry, sociology, the
                Humanities, pharmaceutics, and health and fitness; Providing on-line music, not downloadable;
                Providing on-line newsletters in the field of chemistry, sociology, the Humanities, pharmaceutics, and
               health and fitness; Providing on-line non-downloadable articles in the field of chemistry, sociology, the
                Humanities, pharmaceutics, and health and fitness; Providing on-line publications in the nature of
               applications concerning chemistry, sociology, the Humanities, pharmaceutics, and health and fitness;
                Providing on-line publications in the nature of e-books in the field of chemistry, sociology, the
               Humanities, pharmaceutics, and health and fitness; Providing on-line publications in the nature of e-
               books, news articles in the field of chemistry, sociology, the Humanities, pharmaceutics, and health and
               fitness; Providing on-line videos featuring music mathematics instruction, not downloadable; Providing
               online non-downloadable e-books in the field of chemistry, sociology, the Humanities, pharmaceutics,
               and health and fitness; Providing online non-downloadable journals in the field of chemistry, sociology,
               the Humanities, pharmaceutics, and health and fitness; Providing personal fitness training for athletes
               and runners; Providing personal training and physical fitness consultation to individuals to help them
               make physical fitness, strength, conditioning, and exercise improvement in their daily living; Providing
               ratings and reviews of publications, namely, chemistry, sociology, the Humanities, pharmaceutics, and
               health and fitness; Providing recognition and incentives by the way of awards to demonstrate
               excellence in the field of science, mathematics, and the Humanities; Providing science educational
               mentoring services and programs; Providing sports information in the field of marathon running;
               Providing sports training information and advice via a website; Providing television programs, not
               downloadable, via video-on-demand transmission services; Providing voice overs for tapes, records
               and other recorded media for entertainment and education purposes; Provision of facilities for
               artists&#39; studios and exhibits; Provision of information relating to distribution of television shows,
               motion picture film and radio shows; Provision of information relating to live entertainment; Provision of
               information relating to live performances, road shows, live stage events, theatrical performances, live
               music concerts and audience participation in such events; Provision of information relating to
               multimedia entertainment software production services; Provision of information relating to multimedia
               publishing; Provision of information relating to music; Provision of information relating to publishing of
               electronic publications; Provision of information relating to television, motion picture film, audio and
               radio production; Provision of information relating to theatre productions; Provision of non-
               downloadable films and movies via a video-on-demand service; Provision of non-downloadable films
               and television programmes via a video-on-demand service; Publication and editing of printed matter;
               Publication of books; Publication of books, magazines, almanacs and journals; Publication of books, of
               magazines, of journals, of newspapers, of periodicals, of catalogs, of brochures; Publication of books,
               reviews; Publication of brochures; Publication of calendars; Publication of documents in the field of
               training, science, public law and social affairs; Publication of electronic magazines; Publication of
               journals; Publication of leaflets; Publication of magazines; Publication of manuals; Publication of
               musical texts; Publication of on-line articles, journals, manuscripts; Publication of periodicals;
               Publication of printed matter; Publication of text books; et. Al. .


Series of marks:                       No




Type of mark:                          Word
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Examination type:                      Right Start Examination

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Owner s Address                        20106 Waco Rd

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                                      Apple Valley, California
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Representative details
Representative Name                   Dr. Mickey Socrates Ferdynand®
Representative Address                University of Sussex, East Slope
                                      Refectory Road
                                      Falmer
                                      BRIGHTON

                                      Bn19rp
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Your Reference:                       Mickey Socrates Ferdynand

Declaration

I confirmed that:

The applicant is entitled to hold property.
The terms used to describe the goods and/or services listed in this application should be given their ordinary and
natural meaning.

The trade mark is being used by the applicant, or with the applicant's consent, in relation to the goods or services
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  Dr. Mickey Socrates Ferdynand®
  University of Sussex, East Slope                                                                                      VAT No: GB 888 8255 50
  Refectory Road
  Falmer
  BRIGHTON
  United Kingdom
  Bn19rp


 Invoice Number           1021012717
 Customer                 Mickey Socrates Ferdynand                            Payment Reference 1816109996443422
 Reference
 Invoice Date             18 January 2021


   Line                                                                                                Unit Price                    Total Price
                                   Product                                  Description     Quantity                     Vat(%)          (£)
  Number                                                                                                  (£)
      1       Trade mark - Right Start application                  UK00003581043              1             75.00              0            75.00

      2       Trade mark - Right Start class                        UK00003581043              1             25.00              0            25.00
      3       Trade mark series basic                               UK00003581043              1                 0.00           0             0.00


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                                                                                                                                                  NC-130
ATfJJRNEY OR PARlYWTltOUT ATI'ORNEY                       -sTAlE BAR NUMBER:

-          car1os Molina
FRl!IAIE:
              20106 Waco Rd
STREET MlllRESlt
crrv, Apple vaney                                         STATE:   CA    ZIP COIJE;   92308
                    (858) 291-3362                      FAX.NO.:
                                                                                                                 FILED
lEW'HONENOc                                                                                             SUPERIOR COURT OF CALIFORNIA
                                                                                                         COUNTY OF SAN BERNARDINO
• ....._AOOf!ESSc   mferdynand@ucsd.edu                                                                   SAN BERNARDIN() Q!STRICT
ATTORJEY FOR:(,_,.}:

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO                                                          NOV 1 0 2020
 STREET AOIJRESS,    247 West Third Street
IIAIUlG AOOf!ESSc
crrvANOZP= San Bemanllno, CA92415
      BRANCHNAll!e
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    PETTTlON OF (name of 88Ch pe/ilionBf):
Csrlos Mofina

                                                                                                        _... --
                                                                         FOR CHANGE OF NAME
                                                                                                   ...•
                                  DECREE CHANGING NAME
                                                                                                                  I ...
                                                                                                                           2018609
1. The ~ was duly considered:
   a [ZJ al the hearing on (date):                NOV 10 2020                    in Courtroom:    S   l1     of the above-entitled court.
      b.    D    without hearing.

THE COURT FINDS
2. a. All notices required by law have been given.
   b. Each_Jll'fSlin whose name is to be changed Identified in item 3 belo\.v
      [Z] is not             D  is required to r e g i ~ offender under section 290 of the Penal Code.
      This determination was made (check on&): 1Z] by using CLETS/CJIS                        D
                                                                                 based on information provided to the derk
      of the court by a local law en1bn:ement agency.


      c. ~jeclions to 1he proposed change of name were made.
      d.   D   Objections to the proposed change of name were made by (name):
      e. It appears to 1he satisfaction of the court that an 1he allegations in the petition are true and sufficient and that the petition should
            be granted.
      f.   D     Olher findings (if any):




THE COURT ORDERS
3. The name of
                                 Present name                                                           New name
      a. Carlos Molina                                                  is changed to     Mickey Socrates Ferdynand

      b.                                                                is changed to
      C.                                                                is changed to
      d.                                                                is changed to
      e
     D       Additional name changes are lls1ed on

Date;           /(   /t {)/-v, U?
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